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                   IN THE UNITED STATES DISTRICT COURT
                    WESTERN DISTRICT OF PENNSYLVANIA

EDWARD LEON MAJOR,

      Plaintiff,                        CIV. ACTION NO. 1:21-cv-0068

      vs.

REKHA HALLIGAN, et al,

      Defendants.

    RESPONSES TO FIRST SET OF REQUESTS FOR PRODUCTION
                 DIRECTED TO DEFENDANTS

      AND NOW COMES, Defendant Dr. Michael Herbik, by and through his

counsel and the law firm of Weber Gallagher and hereby submits the following

Responses to Requests for Production of Documents:

  RESPONSES TO REQUESTS FOR PRODUCTION OF DOCUMENTS

   1.   Any and all DOCUMENTS RELATING TO the allegations in the
AMENDED COMPLAINT.

Response: Defendant objects to the broad, open and ambiguously phrased
Request. By way of further Response, Responding Defendant is an employee
of the sub-contracted provider of health care services to the Pennsylvania
Department of Corrections and, as such, independently has no documents in
his possession. Nonetheless, Defendant’s Counsel has subpoenaed documents
from the Pennsylvania Department of Corrections they believe may be relevant
to their investigation and defense of the allegations in Plaintiff’s Amended
complaint. Those documents received in response to Defendant’s subpoenas
are attached hereto.
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     2.    Any and all DOCUMENTS RELATING TO the allegations in the
ANSWER.
Response: See, Response to Request No. 1. All documents that Defendant has
subpoenaed are attached hereto.

   3.        Any and all DOCUMENTS RELATING TO the affirmative defenses in
             the ANSWER.

Response: See, Response to Request No. 1. All documents that Defendant has
subpoenaed are attached hereto.


        4.     PLAINTIFF’S complete inmate file.

Response: Responding Defendant is an employee of the sub-contracted
provider of health care services to the Pennsylvania Department of Corrections
and, as such, independently has no documents in his possession responsive to
this request aside from the attached medical and grievance records.

       5.   DEFENDANTS’ complete personnel file, including without
limitation:

               a.   job descriptions;
               b.   any and all prisoner complaints RELATING TO
               DEFENDANT;
               c.   any subsequent responses by DOC personnel; and
               d.   any and all DOCUMENTS RELATING TO any
               DISCIPLINARYACTIONS that have been taken against any of the
               DEFENDANTS.

Response: The personnel file and job descriptions for Defendant, Dr. Herbik,
have been requested. By way of further response, there are no responsive
documents regarding ‘prisoner complaints’, subsequent ‘responses’ or
disciplinary action related to Dr. Herbik. As Prisoners file tens of thousands
of grievances across the state, they are not stored or kept by the name of the
person they are complaining about but, by the subjective category of the nature
of their complaint and the name of the aggrieved person. See the attached
spreadsheet of Grievance documents related to Plaintiff Majors for a
description as to how these complaints are filed and retrieved.
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     6.    Any and all POLICIES RELATING TO:

           a.    inmate grievances;
           b.    use of force against an inmate;
           c.    O/C SPRAY contraindication determinations;
           d.    medical care provided to inmates, including, but not limited to,
           medical emergencies, response to inmate call buttons, prescription
           medications, treatment plans, and inmate diets;
           e.    the transfer and intake process of inmates; including, but not
           limited to, an inmate’s medical records;
           f.    the placement of inmates in the RHU;
           g.    the placement of inmates in the STGMU;
           h.    the training of DEFENDANTS; and
           i.    document retention and destruction.

Response: Responding Defendant is an employee of the sub-contracted
provider of health care services to the Pennsylvania Department of Corrections
and, as such, independently has no documents in his possession. To the limited
extent that documents may be available or responsive to this request, policies
and procedures that are publicly available are available here:
https://www.cor.pa.gov/About%20Us/Pages/DOC-Policies.aspx


     7.   Any and all COMMUNICATIONS RELATING TO PLAINTIFF
between DEFENDANTS.

Response: Other than the communications that are contained within Plaintiff’s
medical records, which have been produced to counsel, Defendant does not
have documents responsive to this request. Should additional information
responsive to this request become known or available, this response will be
supplemented.

     8.    Any and all COMMUNICATIONS RELATING TO PLAINTIFF
between any DEFENDANT and DOC personnel.

Response: See, Response to Request No. 7.
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      9.    Any and DOCUMENTS or           COMMUNICATIONS
RELATING TO PLAINTIFF’S grievances, including, but not limited to any and all
video footage from the FACILITIES.

Response: Any grievances that were produced to Defendant in response to his
subpoena to the PA DOC are attached hereto. Defendant does not have any
materials responsive to this request for video footage.

     10. Any and all DOCUMENTS or COMMUNICATIONS RELATING
TO the February 24, 2019 INCIDENT, as described in Paragraphs 51-71 of the
AMENDED COMPLAINT.

Response: Response: No documents available. Should additional information
responsive to this request become known or available, this response will be
supplemented.


     11. Any and all DOCUMENTS or COMMUNICATIONS RELATING
TO PLAINTIFF and the use of O/C SPRAY.

Response: See any DC-440C forms which discuss Oleoresin Capsicum in
Plaintiff’s medical records.

     12. Any and all DOCUMENTS or COMMUNICATIONS RELATING
TO PLAINTIFF’S medical care at the FACILITIES.

Response: See attached produced in Response to Request number 1.

       13. Any and all DOCUMENTS or COMMUNICATIONS RELATING
TO any DEFENDANT’S medical care of PLAINTIFF, including, but not limited
to record logs of when DEFENDANTS accessed, viewed, and/or modified
PLAINTIFF’S medical record.

Response: See attached produced in Response to Request number 1.

     14. Any and all DOCUMENTS or COMMUNICATIONS RELATING
TO PLAINTIFF’S transfers between the FACILITIES.
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Response: No responsive documents available. By way of further response,
Responding Defendants did not subpoena Plaintiff’s Transfer Petitions from
the Pennsylvania Department of Corrections.


     15. Any and all DOCUMENTS or COMMUNICATIONS RELATING
TO PLAINTIFF’S placement in the RHU.

Response: See the attached misconduct summary produced in response to
Request number 1 which may contain some limited information as to RHU
placement.


     16. Any and all DOCUMENTS or COMMUNICATIONS RELATING
TO PLAINTIFF’S placement in the STGMU.

Response: See attached medical records and cell history produced in response
to Request number 1 which may contain information as to STGMU
placement.

     17. Any and all DOCUMENTS or COMMUNICATIONS RELATING
TO PLAINTIFF’S placement in the gang unit.

Response: No responsive documents available.


    18. Any and all DOCUMENTS or COMMUNICATIONS RELATING
TO DEFENDANTS’ training at the FACILITIES.

Response: No responsive documents available.


      19. Any and all DOCUMENTS RELATING TO any efforts by DOC
personnel to monitor, record, report, investigate, study, or audit the
DEFENDANTS’ treatment of inmates.

Response: No responsive documents available.
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       20. Any and all DOCUMENTS, reports, correspondence, photographs,
tangible things, or other materials created by any expert witness you intend to call
at the trial of this case.

Response: Defendant has not made a determination as to which, if any, expert
witnesses they intend to call. Defendant will produce all information related
to their experts pursuant to the terms of a Pre-Trial Case Management Order.

      21. Any and all DOCUMENTS that you, your expert witness, or any
other witness may rely upon at the trial of this case.

Response: Defendant will produce their Exhibit List for use at trial pursuant
to the terms of a Pre-Trial Case Management Order.

       22.   Any and all DOCUMENTS YOU intend to rely upon at the trial of
this case.

Response: Defendant will produce their Exhibit List for use at trial pursuant
to the terms of a Pre-Trial Case Management Order.

                                       Respectfully submitted,

                          WEBER GALLAGHER SIMPSON STAPLETON
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                        CERTIFICATE OF SERVICE

      I, Benjamin M. Lombard, Esquire, hereby certify that on this date a true and

correct   copy of the     foregoing   RESPONSES TO REQUESTS FOR

PRODUCTION OF DOCUMENTS was sent by e-mail to all parties of record.



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                                           /s/ Benjamin M. Lombard
                                      Benjamin M. Lombard, Esquire

Dated:       April 25, 2024
